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          EXHIBIT 80
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                 Declaration of Mark H. Allenbaugh,
           Chief Research Officer, Sentencing Stats, LLC.


I, Mark H. Allenbaugh, having personal knowledge of the
matters set forth below, do declare as follows under penalty
of perjury pursuant to 28 U.S.C. § 1746:


1.     I    am    the     Chief      Research        Officer       and     Co-Founder         of
SentencingStats.com, Inc. (“SSINC”), a research firm that
provides statistical analysis of U.S. Sentencing Commission
sentencing          data       and      other       pertinent          data       to     legal
professionals across the country. I am a former staffer in
the     Office       of    General        Counsel        to    the     U.S.      Sentencing
Commission.          My biography is attached hereto.


2.     SSINC was retained by White & Case LLP with regard to
the matter of United States v. John Wilson, 1:19-cr-10080 (D.
Mass.), to analyze the U.S. Sentencing Commission’s publicly
available         datafiles1         for      similarly         situated         defendants

       1
          The Commission’s public datafiles are available at https://www.ussc.gov/research/
datafiles/commission-datafiles. Courts may independently run limited statistical analyses of the
same data, but only back to FY 2017. See U.S. Sentencing Comm’n, Judiciary Sentencing
Information, at https://www.ussc.gov/guidelines/judiciary-sentencing-information.
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matching the following criteria:
     a.    sentenced under USSG § 2T1.1,
     b.    primarily with        a   Total     Offense    Level
           (“TOL”) of 14,
     c.    in Criminal History Category I,
     d.    not subject to any mandatory minimum or
           consecutive sentence,
     e.    did not receive a government-sponsored
           motion for a downward departure pursuant
           to USSG §5K1.1, and
     f.    was sentenced during the last five fiscal
           years for which Commission datafiles are
           available, i.e., FY 2018 through and
           including 2022.


3.   SSINC utilized the SPSS version of the Commission’s
datafiles, which contain sentencing data on over four hundred
thousand individuals sentenced under the U.S. Sentencing
Guidelines from fiscal years 2018 through and including 2022,
the latest datafile currently available.


4.   Each individual sentence reported in the datafiles is
assigned    hundreds     of   variables      reporting    a   variety      of
relevant information including the actual sentence imposed,
the final applicable sentencing guideline as determined by
the court, the final (i.e., total) offense level, the criminal
history category, and whether the sentence was the result of
a government motion for a departure or a court-initiated
downward variance, among many other factors.
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5.     All the variables reported in the datafiles are defined
in the U.S. Sentencing Commission’s Variable Codebook for
Individual Offenders (1999-2022) (revised Apr. 27, 2023).2
The relevant variables SSINC generally utilizes and analyzes
are listed and defined below, although not all may have been
utilized for the instant analyses.                       Some of the variables are
proprietary to SSINC and are indicated by italics, meaning
they are variables generated by SSINC based on data otherwise
contained within the Commission’s datafiles.


 Variable                      Definition                  Note
 Year                          Datafile in                 For example, if
                               which sentence              variable reports 2008,
                               was found.                  the sentence was found
                                                           in the U.S. Sentencing
                                                           Commission’s datafile
                                                           for fiscal year 2008.
 Guideline                     Final
 (GDLINEHI)                    sentencing
                               guideline
                               utilized after
                               all grouping
                               performed.
 DISTRICT                      The federal
                               district where
                               the sentence
                               was imposed.
 STATMAX                       The total
                               statutory
                               maximum term of
                               imprisonment
                               for all counts

       2
         The Codebook is available at https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/datafiles/USSC_Public_Release_Codebook_FY99_FY22.pdf.
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Variable               Definition            Note
                       of conviction.
STATMIN                The statutory         If there was no
                       minimum term of       applicable minimum,
                       imprisonment          the value is 0.
                       for all counts
                       of conviction.
FIREMIN                The statutory
                       minimum term of
                       imprisonment
                       due to a 924(c)
                       conviction.
GLMIN                  The bottom of
                       the applicable
                       guidelines
                       sentencing
                       range in
                       months.
GLMAX                  The top of the
                       applicable
                       guidelines
                       sentencing
                       range in
                       months.
CRIMHIST               Whether the           1 means some criminal
                       defendant had         history including
                       any criminal          criminal history that
                       history.              otherwise may not be
                                             scoreable. 0 means
                                             none.
USSCIDN                The unique
                       serial number
                       assigned to
                       this defendant
                       by the U.S.
                       Sentencing
                       Commission.
CRIMPTS                The total             Not to be confused
                       number of             with the criminal
                       criminal              history category.
                       history points
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 Variable                      Definition                   Note
                               determined by
                               the Court.
 DISPOSIT                      The manner of                1 means plea. 2 means
                               conviction                   nolo contendere. 3
                               (disposition)                means jury trial. 4
                               whether by                   means bench trial.
                               trial or plea.
 BOOKERCD3                     Determines                   0 = Within Range
                               whether and                  1 = Upward Departure
                               nature of any                2 = Upward Departure
                               departure or                 w/Booker
                               variance.                    3 = Above Range
                                                            w/Booker
                                                            4 = Remaining Above
                                                            Range
                                                            5 = 5K1.1/Substantial
                                                            Assistance
                                                            6 = Early
                                                            Disposition/5K3.1
                                                            7 = Government
                                                            Sponsored -
                                                            Below Range
                                                            8 = Downward Departure
                                                            9 = Downward Departure
                                                            w/Booker
                                                            10 = Below Range
                                                            w/Booker
                                                            11 = Remaining Below
                                                            Range
 SENTYR                        Fiscal year
                               sentence was
                               imposed.
 NWSTAT1-NWSTAT5               The offenses of

       3
         The Commission renamed this variable to SENTRNGE in FY 2018 and changed the
values. For consistency purposes and to allow for comparison to earlier fiscal years’ datafiles,
SSINC has recreated this variable by translating the new values reported at SENTRNGE to old
values reported at BOOKERCD. Some minor fidelity in the data necessarily was reduced as a
result.
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Variable               Definition            Note
                       conviction.
XFOLSOR                The final (or
                       total) offense
                       level as found
                       by the Court.
XCRHISSR               The final
                       criminal
                       history
                       category as
                       found by the
                       Court
AMENDYR                The version of
                       the Guidelines
                       Manual applied
                       by the Court as
                       identified by
                       its year of
                       publication.
DSPLEA                 The type of           0 = Not Received
                       disposition,          1 = Received
                       i.e., specific        2 = Received Alternate
                       manner of             Document
                       conviction.           3 = Oral Plea
                                             Agreement
                                             5 = Straight up Plea,
                                             No Agreement
                                             8 = Trial
                                             9 = Guilty Plea, Type
                                             Indeterminable
MWEIGHT                The marijuana
                       weight
                       equivalency, in
                       grams, of all
                       the drug types
                       coded.
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                Statistical Analyses of Sentencing Data


6.    The Federal Judicial Center in conjunction with the U.S.

Sentencing Commission recently created a “Judicial Sentencing

INformation” [sic] Platform (JSIN).4                    The JSIN “provides five

years of cumulative data for people who were convicted of a

similar or the same crime, have a similar criminal history,

and have been convicted of an offense that falls under the

same sentencing guideline.”5                  Several districts across the

country have begun routinely incorporating the results of

JSIN runs into PSRs including the District of Massachusetts.6



7.    Prior to the Court’s resolution of objections to the PSR,

Mr. Wilson’s single count of conviction for violating 26

U.S.C. § 7206(1) is to be sentenced under USSG §2T1.1, with

a Total Offense Level (TOL) of 14 in Criminal History Category

(CHC) I with zero Criminal History Points. Mr. Wilson is not

subject to any mandatory minimum or consecutive sentence.


      4
        https://www.uscourts.gov/news/2023/01/25/judiciary-studies-use-online-tool-
presentence-reports.
      5
          Id.
      6
          Id.
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8.    Running the JSIN for those sentenced under 2T1.1 with a

TOL of 14 in CHC I who were not subject to a consecutive 24-

month sentence pursuant to 18 U.S.C. § 1028A, resulted in the

following textual output: “During the last five fiscal years

(FY2018-2022),            there       were     14     defendants         whose       primary

guideline was §2T1.1, with a Final Offense Level of 14 and a

Criminal History Category of I, after excluding defendants

who received a §5K1.1 substantial assistance departure. . .

. For all 14 defendants in the cell, the average sentence

imposed was 6 month(s) and the median sentence imposed was 0

month(s).”           Additionally, the JSIN reports that only 13%

received a within-range sentence, and 73% received a downward

departure or variance.7



9.    SSINC independently searched the Commission’s datafiles

from fiscal years 2018 through 2022 under the same parameters

and identified 14 cases nationwide matching the criteria

indicated in Paragraph 8. The bar chart immediately following


      7
          These percentages are inclusive of offenders receiving departures pursuant to USSG
§5K1.1.
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illustrates the number of sentences that fell within the

specified ranges. For example, 8 (57.1%) of the 14 defendants

received a sentence of a day (0.03 months) or less.                       Two

(14.3%)   defendants    received     a   sentence    greater    than      two

months but not greater than six months, and so on.                        The

average tax loss for these 14 defendants was $148,785.                    The

average tax loss for the eight defendants who were sentenced

to a day or less was $125,691.
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10. The three highest sentences imposed on this group of

defendants were two for 15 months and one for 36 months.

The Commission does not publish case identifiers such as

the name of the defendant.                          Nevertheless, SSINC was able to

cross-reference the case data for these three cases with

publicly available dockets and identified these cases as

follows:8

                         U.S.
               Def’s     District                  Date          Sentence                           Restitution/
    USSCIDN    Name      Court      Docket No.     Sentenced     Imposed     USSG     CHC    TOL    Tax Loss
               Robert    New
     2445811   Banos     Mexico     1:16cr1423        2/6/2018     15 mos.   2T1.1       1     14   $182,771.00
               Warren
               Gregory
     2462386   Belcher   Maryland   1:17cr134         5/1/2018     15 mos.   2T1.1       1     14   $63,763.00
               Misty     Western
     2504733   West      Tenn.      2:17cr20132    11/27/2018      36 mos.   2T1.1       1     14   $490,974.00



11. As JSIN does not filter for the number of counts of

conviction, the tax loss, nor the Criminal History Points

assigned to the defendant, SSINC performed an additional

analysis using the following criteria:

              a.  sentenced    nationwide                                 from         2018
         through and including 2022,

                 b.       under USSG §2T1.1,


8
 Exhibit A attached hereto contains additional information about each case as reported in the Commission’s
datafiles.
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           c.   convicted of a single tax fraud count,

          d.  with a tax loss greater than $40,000
     but not greater than $100,000,

           e.   with zero criminal history points,

          f.  not subject to any mandatory minimum
     or consecutive sentence, and

           g.   who did not receive a 5K1.1.

12. There were 79 such individuals regardless of Total

Offense Level (2 were at TOL 10, none at TOL 11, 55 at TOL

12, 16 at TOL 13, 1 at TOL 14, and 5 at TOL 15).              The

average sentence was 3.7 months and the median was zero

months.    As illustrated in the bar chart immediately

following, the majority (43 or 54.4%) received a sentence

of a day or less, and over 73% received a sentence of six

months or less. The average tax loss for these 79

defendants was $72,489; the highest tax loss amount was

$99,737.   The average tax loss for those 43 defendants who

received a sentence of a single day or less was $70,118;

the highest tax loss amount remained $99,737.
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I declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and
correct.
Executed on August 13, 2023


______________________________
Mark H. Allenbaugh,
Chief Research Officer & Co-Founder
SentencingStats.com, Inc.
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                                                                                                                     Exhibit A


                      U.S.                                                                                             Crim.                                                                              Primary
        Defendant     District             Date       Sentence No. of             Guideline Guideline         Any Crim Hist.      Type of                                       Restitution/              Statute of       Term of          Stat. Stat. Acc. Plea or
USSCIDN Name          Court    Docket No. Sentenced Imposed Counts      Guideline Min.      Max       CHC TOL History? Points     Variance Citizen?   AGE     Race     Gender   Tax Loss       Fine       Conviction       Sup. Rel.        Max. Min. Resp. Trial
                      New                                                                                                         No
 2445811 Robert Banos Mexico   1:16cr1423    2/6/2018        15       1 2T1.1            15        21    1 14 No                0 Variance Yes              46 White   Male     $ 182,771.00 $        -   26 USC 7206(1)               12     36     0     -2 Plea
         Warren
         Gregory                                                                                                                  No
 2462386 Belcher      Maryland 1:17cr134     5/1/2018        15       7 2T1.1            15        21    1 14 Yes               0 Variance Yes              60 White   Male     $ 63,763.00 $         -   26 USC 7212(a)               12    252     0     0 Trial
                      Western                                                                                                     Upward
 2504733 Misty West Tenn.      2:17cr20132 11/27/2018        36       3 2T1.1            15        21    1 14 Yes               0 Variance Yes              40 White   Female   $ 490,974.00 $        -   26 USC 7206(1)               36    108     0     -2 Plea
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                        ALLENBAUGH BIOGRAPHY

Mark H. Allenbaugh, a sentencing and mitigation consultant,
is a nationally recognized expert on federal sentencing
matters.   He is a co-founder of SentencingStats.com, Inc.,
which provides attorneys and their clients with expert
statistical analyses of data and trends reported by the U.S.
Sentencing Commission, the Bureau of Prisons, the Bureau of
Justice Statistics and other entities. Sentencing Stats, LLC
has access to the U.S. Sentencing Commission’s sentencing
datafiles from 2002 to the present. These datafiles contain
thousands of variables for every defendant sentenced under
the U.S. Sentencing Guidelines nationwide, which report
pertinent information regarding the offender and the sentence
imposed. These data allow him to provide precise statistical
and trend analyses for clients and counsel.

Mr. Allenbaugh holds three B.A.s from the University of
Southern California in Philosophy, English, and Religion; an
M.A. in Philosophy from Ohio University; and a J.D. from
American University’s Washington College of Law, where he
served as an editor on the Law Review. Mr. Allenbaugh also
has completed coursework toward a Ph.D. in the History and
Philosophy of Science at the University of Maryland, College
Park.

Prior to entering the private sector, Mr. Allenbaugh served
as a Staff Attorney for the U.S. Sentencing Commission. He
has published numerous articles on sentencing policy and
criminal justice, which have been cited over 100 times in top
U.S. law reviews and journals, and over a dozen times in
published federal district and appellate opinions.        His
published articles include:

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